                   Case 19-02006-rlj   Doc 81-2 Filed 05/24/22 Entered 05/24/22 11:11:41 Desc
Label Matrix for local noticing            AEG Petroleum
                                                ServiceLLCList Page 1 of 6    Assiter & Associates, LLC
0539-2                                     101 SE 11th St                             16650 Interstate 27
Case 18-20210-rlj7                         Amarillo, TX 79101-3418                    Canyon, TX 79015-6157
Northern District of Texas
Amarillo
Tue May 24 09:48:33 CDT 2022
Barber & Bartz                             Comptroller of Public Accounts             Floyd CAD
525 South Main Street, Suite 800           c/o Office of the Attorney General         c/o Tara LeDay
Tulsa, OK 74103-4511                       Bankruptcy - Collections Division MC-008   P O Box 1269
                                           PO Box 12548                               Round Rock, TX 78680-1269
                                           Austin, TX 78711-2548

Galmor’s/G&G Steam Service, Inc.           Great Plains Bank                          Happy State Bank
P.O. Box 349                               2017 W. Third                              Burdett Morgan Williamson & Boykin, LLP
Shamrock, TX 79079-0349                    P O Box 488                                co C. Jared Knight
                                           Elk City, OK 73648-0488                    701 S. Taylor, Suite 324
                                                                                      Amarillo, TX 79101-2417

IPFS Corporation                           InterBank                                  Kirby-Smith Machinery, Inc.
30 Montgomery Street                       Higier Allen & Lautin, P.C.                c/o Hicks Law Group PLLC
Suite 501                                  c/o Jason T. Rodriguez                     325 N. St. Paul Street
Jersey City, NJ 07302-3821                 2711 N. Haskell Ave.                       Suite 4400
                                           Suite 2400                                 Dallas, TX 75201-3880
                                           Dallas, TX 75204-2926
Lovelady, Christy & Associates             Oklahoma Tax Commission                    Texas Workforce Commission
801 S. Fillmore, Ste. 420                  PO Box 269056                              Jason Starks
Amarillo, TX 79101-3520                    Oklahoma City, OK 73126-9056               c/o Sherri K. Simpson, Paralegal
                                                                                      P.O. Box 12548
                                                                                      Austin, TX 78711-2548

Wells Fargo Equipment Finance              Wheeler County                             205 East Fifth Street, Room 201D
Mullin Hoard & Brown, LLP                  c/o Perdue Brandon Fielder Collins & Mot   Amarillo, TX 79101-1559
P.O. Box 31656                             PO Box 9132
Amarillo, TX 79120-1656                    Amarillo, TX 79105-9132


A Rental Company                           AEG Petroleum LLC                          AIRGAS USA LLC
4901 E Main Street                         P.O. Box 1003                              110 West 7th St.
Weatherford, OK 73096-9548                 Amarillo, TX 79105-1003                    Suite 1400
                                                                                      Tulsa, OK 74119-1077


AT&T                                       Advanced Water Solutions                   Air Gas
P.O. Box 105414                            1509 S Van Buren St.                       P.O. Box 676015
Atlanta, GA 30348-5414                     Enid, OK 73703-7857                        Dallas, TX 75267-6015



Albert Brothers                            Ally Financial                             American Express
115 6th St.                                P.O. Box 9001948                           P.O. Box 650448
Elk CIty, OK 73644-5760                    Louisville, KY 40290-1948                  Dallas, TX 75265-0448



American Express National Bank             Apex Remington, Inc.                       Bank Of America
c/o Becket and Lee LLP                     13505 E 61st Street                        P.O. Box 15710
PO Box 3001                                Suite A                                    Wilmington, DE 19886-5710
Malvern PA 19355-0701                      Broken Arrow, OK 74012-1295
                   Case 19-02006-rlj         Doc 81-2 Filed 05/24/22 Entered 05/24/22 11:11:41 Desc
Barber Dyson Ford                                BeaverService
                                                        Express List Page 2 of 6    Beaver Express Services
P.O. Box 743                                     P.O. Box 1168                          PO Box 1168
Elk City, OK 73648-0743                          Woodward, OK 73802-1168                Woodward, OK 73802-1168



Beckham County Treasurer                         Big Chief Plant Services               CMI Drug Testing
P.O. Box 600                                     3520 Big Elk Drive                     6704 Guada Coma
Sayre, OK 73662-0600                             Elk City, OK 73644-4440                Shertz, TX 78154-3247



CMT Engineering Inc.                             Camrock Quality                        Canyon Oilfield Services
P.O. Box 1786                                    P.O. Box 2407                          11552 S Hwy 6
Dripping Springs, TX 78620-1786                  Elk City, OK 73648-2407                Elk City, OK 73644-9722



Caterpillar Financial Services Corporation       Centergas Fuels, Inc.                  (p)JPMORGAN CHASE BANK N A
Derryberry & Naifeh, LLP                         P.O. Box 2603                          BANKRUPTCY MAIL INTAKE TEAM
4800 N. Lincoln Blvd.                            Pampa, TX 79066-2603                   700 KANSAS LANE FLOOR 01
Oklahoma City, OK 73105-3321                                                            MONROE LA 71203-4774


Cintas Corporation                               Crossroads                             Culligan Water Conditioning
P.O. Box 631025                                  1627 North Main St.                    P.O. Box 1597
Cincinnati, OH 45263-1025                        Shamrock, TX 79079-1600                Pampa, TX 79066-1597



Culver Electric LLC                              DJ’s Rental                            DNOW LP
P.O. Box 427                                     911 South Main Street                  7402 N. Eldridge Pkwy
Elk City, OK 73648-0427                          Elk City, OK 73644-6707                Houston, TX 77041-1902



David W. Bank, M.D.                              Dennis J. Hefley                       Dickey Oilfield Sales Company
P.O. Box 528                                     15400 County Road EE                   2211 Hwy 79 South
Elk City, OK 73648-0528                          Briscoe, TX 79011-3231                 Wichita Falls, TX 76310-7962



Distribution Now                                 Dolese Bros. Co.                       Double H Oil Tools, Inc.
P.O. Box 200822                                  P.O. Box 960144                        P.O. Box 2473
Dallas, TX 75320-0822                            Oklahoma City, OK 73196-0144           Pampa, TX 79066-2473



Doug Gray Ford, Inc.                             Enterprise                             Floyd County Appraisal District
P.O. Box 485                                     P.O. Box 800089                        P.O. Box 249
Sayre, OK 73662-0485                             Kansas City, MO 64180-0089             Floydada, TX 79235-0249



GR Energy Services                               GR Lift LP                             Galmor FLP
2150 Town Square Place                           c/o Kent Altsuler                      6994 US HWY 83
Suite 410                                        Lewis Brisbois Bisgaard & Smith LLP    Shamrock, TX 79079-4129
Sugar Land, TX 77479-1465                        24 Greenway Plaza, Suite 1400
                                                 Houston, Texas 77046-2410
                   Case 19-02006-rlj     Doc 81-2 Filed 05/24/22 Entered 05/24/22 11:11:41 Desc
Great Plains Bank                            GreatService
                                                   Plains National
                                                             List Bank
                                                                    Page 3 of 6 Great Plains Pest Control
c/o Mullin Hoard & Brown, LLP                2017 W. 3rd St.                          P.O. Box 192
P.O. Box 31656                               Elk City, OK 73644-4305                  Lefors, TX 79054-0192
Amarillo, TX 79120-1656


H.J. Garrison Oil Company                    Happy State Bank & Trust Co.             Harbison Fischer Manufacturing
P.O. Box 231                                 Co. C. Jared Knight                      P.O. Box 731403
Shamrock, TX 79079-0231                      701 S Taylor Suite 324                   Dallas, TX 75373-1403
                                             Amarillo, TX 79101-2417


Harbison Fischer Manufacturing Company       INTERNAL REVENUE SERVICE                 (p)IPFS CORPORATION
901 N. Crowley Rd.                           1100 COMMERCE ST.                        30 MONTGOMERY STREET
Crowley, TX 76036-3798                       DALLAS, TX 75242                         SUITE 1000
                                             MC5027 DAL 75242-1100                    JERSEY CITY NJ 07302-3836


(p)INTERNAL REVENUE SERVICE                  Innovative Technology                    InterBank
CENTRALIZED INSOLVENCY OPERATIONS            P.O. Box 726                             c/o Higier Allen & Lautin, P.C.
PO BOX 7346                                  Elk City, OK 73648-0726                  Attn: Jason T. Rodriguez
PHILADELPHIA PA 19101-7346                                                            The Tower at City Place
                                                                                      2711 N. Haskell Ave., Suite 2400
                                                                                      Dallas, Texas 75204-2926
Interbank                                    Internal Revenue Service                 JWD Internation Marketing, Inc.
P.O. Box 1049                                P.O. Box 7346                            P.O. Box 1000
Elk City, OK 73648-1049                      Philadelphia, PA 19101-7346              Skiatook, OK 74070-5000



Janning Welding                              Jerome S. Sepkowitz                      Jerome S. Sepkowitz
918 N. Van Buren                             Derryberry & Naifeh, LLP                 Derryberry & Naifeh, LLP
Elk City, OK 73644-2916                      4800 N. Lincoln Blvd.                    4800 N. Lincoln Blvd.
                                             Oklahoma City, OK 73105-3321             Oklahomna City, OK 73105-3321


Jerome S. Sepkowitz, OBA #8081               John Deere Financial                     Jones Passodelis
Derryberry & Naifeh, LLP                     P.O. Box 650215                          Gulf Tower-Suite 3410
4800 N. Lincoln Blvd.                        Dallas, TX 75265-0215                    707 Grant Street
Oklahoma City, OK 73105-3321                                                          Pittsburgh, PA 15219-1931


KJC Fire Safety Solutions                    Kubota Credit                            Lease Consultants Corporation
805 Shore Dr.                                P.O. Box 0559                            P.O. Box 71397
Elk City, OK 73644-2635                      Carol Stream, IL 60132-0559              Des Moines, IA 50325-0397



Leslie Pritchard                             Lindley Equipment                        M. B. McKee Company, Inc.
c/o YOUNG & NEWSOM, P.C.                     P.O. Box 457                             2205 Avenue #
Attn. Collin J. Wynne                        Cordell, OK 73632-0457                   Lubbock, TX 79404-1032
1001 S. Harrison, Suite 200
Amarillo, Texas 79101-3434

M.B. McKee Co., Inc.                         MPS Enterprise, Inc.                     Marshall Discount Auto
2205 Avenue E                                1205 S. Eastern Ave.                     P.O. Box 451
Lubbock, Texas 79404-1032                    Elk City, OK 73644-3836                  Wheeler, TX 79096-0451
                      Case 19-02006-rlj   Doc 81-2 Filed 05/24/22 Entered 05/24/22 11:11:41 Desc
Martins Air Conditioning                      McLemore Sand & List
                                                   Service    Top SoilPage 4 of 6 Mine Safety & Health Administration
2116 W. 20th St.                               11157 N. 1930 Road                        P.O. Box 790390
Elk City, OK 73644-9206                        Sayre, OK 73662-6040                      St. Louis, MO 63179-0390



NAPA Auto Parts                                NCW Insurance                             Navman Wireless
716 West 3rd St.                               P.O. Box 506                              32996 Collection Center Dr.
Elk City, OK 73644-5208                        Amarillo, TX 79105-0506                   Chicago, IL 60693-0001



Nesmith Propane                                Oklahoma Employment Security Commission   Oklahoma Employment Security Commission
3502 West 3rd Street                           401 E Broadway St                         PO Box 53039
Elk City, OK 73644-4335                        Sand Springs, OK 74063-7965               Oklahoma City, OK 73152-3039



Oklahoma Tax Commision                         Oklahoma Tax Commission                   P K & Company PLLC
P.O. Box 26930                                 General Counsel’s Office                  P.O. Box 1728
Oklahoma City, OK 73126-0930                   100 N. Broadway Ave., Suite 1500          Elk City, OK 73648-1728
                                               Oklahoma City, OK 73102-8601


PNC Equipment Finance, LLC                     PNC Equipment Financial, LLC              PaveTex Engineering, LLC, dba PaveTex
J. Eric Atherholt/Flamm Walton Heimbach        / ECN Financial, LLC                      12804 County Road 2500
794 Penllyn Pike, Suite 100                    J. Eric Atherholt                         Lubbock, TX 79404-8329
Blue Bell, PA 19422-1669                       794 Penllyn Pike, Suite 100
                                               Blue Bell, PA 19422-1669

Powerscreen Texas, Inc.                        Powerscreen Texas, Inc.                   Quality Heating & Cooling
5680 W. State Swy 71,                          P.O. Box 658                              311 S Nebraska
Box 658                                        La Grange, TX 78945-0658                  Shamrock, TX 79079-2741
La Grange, TX 78945-0658


Quill Corporation                              Ryan Construction                         Safety-Kleen Systems, Inc.
P.O. Box 37600                                 9500 County Road 270                      P.O. Box 650509
Philadelphia, PA 19101-0600                    Zephyr, TX 76890-3312                     Dallas, TX 75265-0509



Silver Arc Welding                             Skinner Bros. Company                     Steve’s Diesel & Truck Service
P.O. Box 3366                                  P.O. Box 21228                            P.O. Box 166
Enid, OK 73702-3366                            Dept 9                                    Elk City, OK 73648-0166
                                               Tulsa, OK 74121-1228


T&W Tire                                       TEXAS WORKFORCE COMMISSION                Teddy’s Glass
P.O. Box 258859                                REGULATORY INTEGRITY DIVISION - SAU       515 N Van Buren
Oklahoma City, OK 73125-8859                   101 EAST 15TH STREET, ROOM 556            Elk City, OK 73644-4260
                                               AUSTIN, TX 78778-0001


Texas Attorney General                         Texas Workforce Commission                Thru Tubing Solutions
P.O. Box 12548                                 Jason Starks, Asst. Attorney Gen.         8032 Main St
Austin, TX 78711-2548                          c/o Sherri K. Simpson, Paralegal          Houma, LA 70360-4428
                                               P.O. Box 12548
                                               Austin, TX 78711-2548
                   Case 19-02006-rlj    Doc 81-2 Filed 05/24/22 Entered 05/24/22 11:11:41 Desc
Treasurer of Beckham County, Oklahoma       TripleService
                                                   D ServicesList Page 5 of 6  Troy Jones Equipment
P.O. Box 276                                203 N Houston                                1203 S Main St
Cheyenne, OK 73628-0276                     Shamrock, TX 79079-2319                      Elk City, OK 73644-6911



U.S. Attorney General                       U.S. Attorney’s Office                       US Trustee
U.S. Department of Justice                  1205 Texas Ave. Room 700                     1100 Commerce St
10th & Pennsylvania Ave                     Lubbock, TX 79401-4029                       Room 976
Washington, DC 20530-0001                                                                Dallas, TX 75242-0996


Unifirst Corp.                              United Healthcare                            United Life Insurance Co.
4210 S.E. 22nd Street                       P.O. Box 94017                               P.O. Box 142153
Amarillo, TX 79103-6204                     Palatine, IL 60094-4017                      Overland Park, KS 66225-5326



United Rentals                              United Rentals                               United States Trustee
Attn: Mike Dowden                           P.O. Box 840514                              1100 Commerce Street
6125 Lakeview Road #300                     Dallas, TX 75284-0514                        Room 976
Charlotte, NC 28269-2616                                                                 Dallas, TX 75242-0996


UnitedHealthcare Insurance Company          WB Supply                                    Warren CAT
ATTN: CDM - Bankruptcy                      P.O. Box 206620                              P.O. Box 842116
185 Asylum Street                           Dallas, TX 75320-6620                        Dallas, TX 75284-2116
03B
Hartford, CT 06103-3408

Weldon Parts                                Wells Fargo Bank, N.A.                       Wells Fargo Business Line
1100 S. Main St.                            Small Business Lending Division              P.O. Box 51174
Elk City, OK 73644-6916                     P.O. Box 29482                               Los Angeles, CA 90051-5474
                                            Phoenix, AZ 85038-9482


Wells Fargo Equipment Finance               Wells Fargo Vendor Financial Services, LLC   Western Equipment
NW 8178                                     1010 Thomas Edison Blvd., SW                 404 Frisco Avenue
P.O. Box 1450                               Cedar Rapids, IA 52404-8247                  Clinton, OK 73601-3440
Minneapolis, MN 55485-5934


Wheeler County                              Xerox Corporation                            Yow Automotive
c/o Perdue Brandon Fielder                  P.O. Box 650361                              221 S. Jefferson
Collins & Mott LLP                          Dallas, TX 75265-0361                        Elk City, OK 73644-5737
PO Box 9132
Amarillo, Texas 79105-9132

Zee Medical                                 Jerry D. McLaughlin                          Kent David Ries
13 NW 132nd Street                          P.O. Box 9375                                2700 S. Western Street
Oklahoma City, OK 73114-2318                Amarillo, TX 79105-9375                      Suite 300
                                                                                         Amarillo, TX 79109-1536


Patrick Alan Swindell
Swindell Law Firm
1619 S. Kentucky St., Ste. B202
Amarillo, TX 79102-2276
                    Case 19-02006-rlj           Doc 81-2 Filed 05/24/22 Entered 05/24/22 11:11:41                           Desc
                                                       Service List Page 6 of 6
                    The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                    by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Chase                                                 IPFS Corporation                                     IRS
P.O. Box 94014                                        P.O. Box 730223                                      P.O. Box 802501
Palatine, IL 60094-4014                               Dallas, TX 75373-0223                                Cincinnati, OH 45280-2501




                  The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)GR Energy Services                                 (u)PNC Equipment Financial, LLC                      (u)Ryan Construction, Inc.




(u)United States Of America -Internal Revenue         (d)Beaver Express Services, LLC                      (d)Comptroller of Public Accounts
                                                      PO Box 1168                                          C/O Office of the Attorney General
                                                      Woodward, OK 73802-1168                              Bankruptcy - Collections Division MC-008
                                                                                                           PO Box 12548
                                                                                                           Austin TX 78711-2548

(d)Enterprise                                         (d)Floyd CAD                                         (d)Jerome S. Sepkowitz
P.O. Box 800089                                       c/o Tara LeDay                                       Derryberry & Naifeh, LLP
Kansas City,, MO 64180-0089                           P.O. Box 1269                                        4800 N. Lincoln Blvd.
                                                      Round Rock, TX 78680-1269                            Oklahoma City, OK 73105-3321


(d)Jerome S. Sepkowitz                                (d)Kirby-Smith Machinery, Inc.                       (d)Oklahoma Tax Commission
Derryberry & Naifeh, LLP                              c/o Hicks Law Group PLLC                             PO Box 269056
4800 N. Lincoln Blvd.                                 325 N. St. Paul Street, Suite 4400                   Oklahoma City, OK 73126-9056
Oklahoma City, OK 73105-3321                          Dallas, TX 75201-3880


(u)Kellye Fuchs                                       (u)Leslie Pritchard                                  End of Label Matrix
                                                                                                           Mailable recipients   147
                                                                                                           Bypassed recipients    14
                                                                                                           Total                 161
